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                                No. 2024-1346

                 United States Court of Appeals
                     for the Federal Circuit
                          CORCEPT THERAPEUTICS, INC.,

                                           Plaintiff-Appellant,

                                      v.

                     TEVA PHARMACEUTICALS USA, INC.,

                                           Defendant-Appellee.

                 On Appeal from the United States District Court
        for the District of New Jersey in No. 1:18-cv-03632-RMB-LDW,
                   Honorable Renée Marie Bumb, Chief Judge

                      TEVA’S RESPONSIVE BRIEF


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April 22, 2024
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                          PATENT CLAIMS AT ISSUE

Claims 10–13 of U.S. Patent No. 10,195,214:
             10. A method of controlling hyperglycemia secondary to
             hypercortisolism in a patient with endogenous Cushing’s
             syndrome who is taking an original once-daily dose of 1200 mg
             or 900 mg per day of mifepristone, comprising the steps of:

             reducing the original once-daily dose to an adjusted once-daily
             dose of 600 mg mifepristone,

             administering the adjusted once-daily dose of 600 mg
             mifepristone and a strong CYP3A inhibitor to the patient,

             wherein said strong CYP3A inhibitor is selected from the group
             consisting of ketoconazole, itraconazole, nefazodone, ritonavir,
             nelfmavir, indinavir, boceprevir, clarithromycin, conivaptan,
             lopinavir, posaconazole, saquinavir, telaprevir, cobicistat,
             troleandomycin, tipranivir, paritaprevir and voriconazole.

             11. The method of claim 10, wherein said CYP3A inhibitor is
             ketoconazole.

             12. The method of claim 10, wherein said CYP3A inhibitor is
             itraconazole.

             13. The method of claim 10, wherein said CYP3A inhibitor is
             clarithromycin.

Appx86–87.
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Claims 1, 6, 7, and 9 of U.S. Patent No. 10,842,800:
            1. A method of controlling hyperglycemia secondary to
            hypercortisolism in a patient with endogenous Cushing’s
            syndrome, said patient taking an original once-daily dose of
            1200 mg per day of mifepristone, the method comprising the
            steps of:

            reducing the original once-daily dose to an adjusted once-daily
            dose of 900 milligrams (mg) per day of mifepristone, and

            administering the adjusted once-daily dose of 900 mg per day
            of mifepristone and a strong CYP3A inhibitor to the patient,

            wherein said strong CYP3A inhibitor is selected from the group
            consisting of ketoconazole, itraconazole, nefazodone, ritonavir,
            nelfinavir, boceprevir, clarithromycin, conivaptan, lopinavir,
            saquinavir, telaprevir, cobicistat, troleandomycin, tipranivir,
            and paritaprevir.

            6. A method of controlling hyperglycemia secondary to
            hypercortisolism in a patient with endogenous Cushing’s
            syndrome, said patient taking a strong CYP3A inhibitor
            selected from ketoconazole, itraconazole, nefazodone, ritonavir,
            nelfinavir, indinavir, boceprevir, clarithromycin, conivaptan,
            lopinavir, posaconazole, saquinavir, telaprevir, cobicistat,
            troleandomycin, tipranivir, paritaprevir and voriconazole, the
            method comprising administering to the patient a once-daily
            dose of mifepristone of 900 milligrams (mg) per day.

            7. The method of claim 6, wherein said CYP3A inhibitor is
            ketoconazole.

            9. The method of claim 6, wherein said CYP3A inhibitor is
            itraconazole.

Appx128.
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2024-1346
   Short Case Caption Corcept Therapeutics, Inc. v. Teva Pharmaceuticals USA, Inc
   Filing Party/Entity Teva Pharmaceuticals USA, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        04/22/2024
  Date: _________________                   Signature:    /s/ John Christopher Rozendaal

                                            Name:         John Christopher Rozendaal
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FORM 9. Certificate of Interest                                                         Form 9 (p. 2)
                                                                                         March 2023


     1. Represented                   2. Real Party in             3. Parent Corporations
         Entities.                        Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of        Provide the full names of
 all entities represented by      all real parties in interest     all parent corporations for
 undersigned counsel in           for the entities. Do not list    the entities and all
 this case.                       the real parties if they are     publicly held companies
                                  the same as the entities.        that own 10% or more
                                                                   stock in the entities.

                                     None/Not Applicable                  None/Not Applicable

Teva Pharmaceuticals USA, Inc.                                    Teva Pharmaceutical Industries
                                                                  Ltd.,




                                     Additional pages attached
               Case: 24-1346       Document: 10        Page: 6      Filed: 04/22/2024



FORM 9. Certificate of Interest                                                            Form 9 (p. 3)
                                                                                            March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable                           Additional pages attached
LIZA M. WALSH                    CHRISTINE INTROMASSO GANNON      ELEONORE OFOSU-ANTWI
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WALSH PIZZI O'REILLY FALANGA LLP KEAN UNIVERSITY                  Sterne Kessler Goldstein & Fox PLLC4



 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
       Yes (file separate notice; see below)             No           N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
          None/Not Applicable                           Additional pages attached
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                      STATEMENT OF RELATED CASES
      No other appeal in or from the same civil action or proceeding in the district

court was previously before this or any other appellate court. Counsel is not aware

of any case pending in this or any other tribunal that will directly affect or be

directly affected by this Court’s decision in the pending case.




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                                  INTRODUCTION
      This is a Hatch–Waxman case involving mifepristone, a drug indicated to

treat certain patients with an endocrine disorder called Cushing’s syndrome. After

Teva sought FDA approval to market a generic mifepristone product, Corcept

accused Teva of inducing infringement of nine method-of-treatment patents. By

the time of trial, only two patents remained. Each requires co-administration of

mifepristone and a class of drugs called strong CYP3A inhibitors in a specific

order and at specific doses.

      Corcept lost this case on the facts. The district court rejected Corcept’s

inducement allegations for two independent reasons, each of which turned heavily

on the district court’s weighing of the evidence and resolution of competing expert

testimony: (i) Corcept failed to show that anyone will directly infringe the asserted

patents and (ii) Corcept failed to show that Teva specifically intends to induce

infringement. The district court repeatedly credited Teva’s expert (Dr. Snyder)

over Corcept’s expert (Dr. Carroll) on these issues. See Appx11; Appx30–31;

Appx32; Appx33–35; Appx38; Appx43–44. Both findings are well supported;

affirmance of either finding is sufficient to resolve this appeal in Teva’s favor.

      As to direct infringement, there is no evidence that anyone has ever

practiced these patents. And the district court—after comprehensively analyzing

Teva’s label and the evidence regarding physician practice, and after repeatedly

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crediting Teva’s expert over Corcept’s—concluded as a factual matter that future

infringement is unlikely. See Genentech, Inc. v. Sandoz Inc., 55 F.4th 1368, 1380

(Fed. Cir. 2022) (future-infringement inquiry requires consideration of “all the

relevant evidence, including [the] proposed label and physician practice”). Corcept

does not come close to showing that was clear error. This Court may affirm on that

basis alone.

      If the Court reaches the issue of specific intent, it will find the district court’s

conclusions amply supported as well. The court—again crediting Teva’s expert

over Corcept’s—found that Teva’s label does not encourage co-administration of

mifepristone and strong CYP3A inhibitors, as required by all asserted claims. On

the contrary, the label warns against co-administration and merely provides dosing

regimens for physicians to follow if—contrary to Teva’s warning—they decide to

do it anyway. This Court found no inducement under similar circumstances in

HZNP Medicines LLC v. Actavis Laboratories UT Inc., 940 F.3d 680 (Fed. Cir.

2019). Under HZNP, a label stating, “If you do X, do Y” does not induce X. See id.

at 701–02. As the district court correctly concluded, that legal principle resolves

this case in Teva’s favor. Indeed, this case is easier than HZNP given the district

court’s well-supported factual finding that Teva’s label cautions against co-

administration. The label is not merely agnostic as to infringement (as the

defendat’s was in HZNP); the label recommends against infringement.

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      This Court should affirm.

                         STATEMENT OF THE ISSUES
      1.     Whether the district court clearly erred in finding that Corcept failed

to prove that Teva’s mifepristone product will lead to direct infringement if

marketed, where the evidence showed that physicians have good reasons to avoid

infringing uses; the evidence showed that the development of new, easier-to-dose

drugs makes infringing uses unnecessary; and there is no evidence that anyone

practiced the claimed methods in the past.

      2.     Whether the district court clearly erred in finding that Corcept failed

to prove that Teva specifically intends to induce infringement, where Teva’s label

warns against co-administration of mifepristone and strong CYP3A inhibitors (as

required by all asserted claims) and merely describes—without encouraging—both

infringing and non-infringing dosing regimens involving the combination in the

event that physicians choose not to heed Teva’s warning.

                           STATEMENT OF THE CASE

      A.     Factual background

             1.    Researchers begin treating Cushing’s syndrome with
                   mifepristone in the 1980s.
      The asserted patents cover specific methods of using mifepristone to treat

Cushing’s syndrome, an endocrine disorder characterized by excessive levels of

the hormone cortisol. Appx8. The excess cortisol is often caused by a tumor in the

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adrenal or pituitary glands. Appx9. Surgery (i.e., excision of the tumor) is the

preferred treatment, but medications like mifepristone are available for patients

who have failed surgery or cannot have surgery. Appx9.

      Mifepristone was synthesized in the early 1980s and has been used to treat

Cushing’s syndrome for almost as long. Appx12. In 1985, a group of researchers

led by Dr. Lynette Nieman—who remains one of the leading experts in the

treatment of Cushing’s syndrome today—reported successful treatment of a

Cushing’s patient with mifepristone. See Appx4554. In the following years, other

researchers investigated the treatment of Cushing’s syndrome with mifepristone

and reported positive findings. See, e.g., Appx4780–4786.

      Mifepristone treats Cushing’s syndrome by blocking cortisol’s effects on the

body. It does that by binding to the body’s glucocorticoid receptors and thereby

preventing cortisol molecules from binding to them. Appx10. Mifepristone does

not reduce the level of cortisol in the body, however. On the contrary, it can

increase cortisol levels, because (due to mifepristone’s blockading effect) the body

perceives less cortisol than is actually present, thus prompting the body to make

more cortisol. Appx11; Appx1428–1429 (384:23–385:5) (Snyder). So the

medication is hard to dose. Appx11; Appx1429 (385:14–20) (Snyder).

      Other available medications for Cushing’s syndrome, including osilodrostat

(a relatively new drug sold under the brand name Isturisa), work by inhibiting the

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body’s production of cortisol. Appx10; Appx11–12; Appx1428 (384:9–12)

(Snyder). These medications are easier to dose than mifepristone because

physicians can use the patient’s cortisol levels to determine whether the dose being

administered is sufficient, insufficient, or excessive. Appx11–12; Appx1430

(386:12–22) (Snyder). The district court found that osilodrostat is a particularly

attractive treatment for Cushing’s syndrome because it is quick, powerful, and

relatively easy to dose. Appx11–12; Appx33–34; Appx1430 (386:12–22) (Snyder).

             2.    The FDA approves Korlym in 2012 but requires Corcept to
                   (i) include in the label warnings against co-administration
                   of mifepristone and strong CYP3A inhibitors and
                   (ii) conduct a drug-drug interaction study involving strong
                   CYP3A inhibitors.
      In the late 2000s, Corcept began seeking FDA approval to market

mifepristone to treat Cushing’s syndrome. Appx12. The FDA approved Korlym in

2012 for a narrow indication involving a specific subset of Cushing’s patients:

      KORLYM (mifepristone) is a cortisol receptor blocker indicated to
      control hyperglycemia secondary to hypercortisolism in adult patients
      with endogenous Cushing’s syndrome who have type 2 diabetes
      mellitus or glucose intolerance and have failed surgery or are not
      candidates for surgery.

Appx4212; Appx12–13.

      According to Corcept, the FDA insisted that the label include cautionary

language regarding co-administration of mifepristone and strong CYP3A

inhibitors. See Appx2247–2248; Appx2580. Those warnings were included

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because mifepristone was known to be a CYP3A substrate—i.e., it is metabolized

by the CYP3A family of enzymes. When a CYP3A inhibitor and a CYP3A

substrate are administered to a patient at the same time, the CYP3A inhibitor can

decrease the patient’s metabolism of the CYP3A substrate and thus increase the

blood concentration of the substrate, which can cause an undesirable drug-drug

interaction. Appx54 (3:16–32); Appx58–59 (12:14–16, 13:53–63); Appx69 (34:8–

23).1 In the case of mifepristone, co-administration with a strong CYP3A inhibitor

can raise blood levels of mifepristone, which could lead to side effects such as

hypokalemia (low potassium levels) and hypotension (low blood pressure). These

side effects are exceedingly dangerous and potentially fatal. Appx1439 (395:2–8)

(Snyder).

      The 2012 Korlym label therefore included several warnings concerning co-

administration of mifepristone and strong CYP3A inhibitors:

       “Warnings & Precautions” – “Use of Strong CYP3A Inhibitors:
        Concomitant use can increase mifepristone plasma levels significantly.
        Use only when necessary and limit mifepristone dose to 300 mg.”
        Appx4212.

       “Drug Interactions” – “Caution should be used when Korlym is used
        with strong CYP3A inhibitors. Limit mifepristone dose to 300 mg per
        day when used with strong CYP3A inhibitors.” Appx4212.



      1
        The two asserted patents share a specification. This brief cites the ’214
patent (Appx50–87).
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       “5.6 Use of Strong CYP3A Inhibitors” – “Korlym should be used with
        extreme caution in patients taking ketoconazole and other strong
        inhibitors of CYP3A … as these could substantially increase the
        concentration of mifepristone in the blood. The benefit of concomitant
        use of these agents should be carefully weighed against the potential
        risks. Mifepristone should be used in combination with strong CYP3A
        inhibitors only when necessary, and in such cases the dose should be
        limited to 300 mg per day….” Appx4217.

       “7.2 CYP3A Inhibitors” – “Medications that inhibit CYP3A could
        increase plasma mifepristone concentrations and dose reduction of
        Korlym may be required. Ketoconazole and other strong inhibitors of
        CYP3A … may increase exposure to mifepristone significantly. The
        clinical impact of this interaction has not been studied. Therefore,
        extreme caution should be used when these drugs are prescribed in
        combination with Korlym. The benefit of concomitant use of these agents
        should be carefully weighed against the potential risks. The dose of
        Korlym should be limited to 300 mg and used only when necessary….”
        Appx4220–4221.

See Appx14–15. Corcept told the Patent Office during prosecution of the patents-

in-suit that this language “taught clinicians to avoid the concomitant use of

mifepristone with strong CYP3A inhibitors.” Appx1187 (169:12–18); Appx2272.

      The FDA also imposed a post-marketing requirement: as a condition of

approval, Corcept had to conduct a drug-drug interaction (“DDI”) study

quantifying the effect of co-administering a strong CYP3A inhibitor on

mifepristone blood levels. Appx2580; see Appx13 (citing Appx4297–4303).

             3.    Corcept conducts the required drug-drug interaction study
                   and obtains the asserted patents.
      That study led to the two asserted patents. Appx2580. According to the

specification, the DDI study results showed that co-administering mifepristone and
                                          7
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strong CYP3A inhibitors increases mifepristone blood concentration by about 30%

relative to administering mifepristone alone. Appx58 (12:26–38). Each patent

claims methods of treating Cushing’s syndrome by, among other things,

administering mifepristone together with a strong CYP3A inhibitor in a particular

order and at particular doses.

      Claim 10 of the ’214 patent is representative of the asserted claims reciting

administration of a strong CYP3A inhibitor to a patient already receiving

mifepristone. It claims

      [a] method of controlling hyperglycemia secondary to hypercortisolism
      in a patient with endogenous Cushing’s syndrome who is taking an
      original once-daily dose of 1200 mg or 900 mg per day of mifepristone,
      comprising the steps of:

      reducing the original once-daily dose to an adjusted once-daily dose of
      600 mg mifepristone,

      administering the adjusted once-daily dose of 600 mg mifepristone and
      a strong CYP3A inhibitor to the patient,

      wherein said strong CYP3A inhibitor is selected from the group
      consisting of ketoconazole, itraconazole, nefazodone, ritonavir,
      nelfmavir, indinavir, boceprevir, clarithromycin, conivaptan, lopinavir,
      posaconazole, saquinavir, telaprevir, cobicistat, troleandomycin,
      tipranivir, paritaprevir and voriconazole.

Appx86 (68:47–63) (spacing enhanced for clarity). Claim 1 of the ’800 patent is

virtually identical, except that the required starting dose of mifepristone is 1200 mg

(rather than 1200 or 900 mg) and the specified dose reduction is to 900 mg (rather

than 600 mg). Appx128 (67:30–68:2).

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      Claim 6 of the ’800 patent is representative of the asserted claims reciting

administration of mifepristone to a patient already receiving a strong CYP3A

inhibitor. It claims

      [a] method of controlling hyperglycemia secondary to hypercortisolism
      in a patient with endogenous Cushing’s syndrome,

      said patient taking a strong CYP3A inhibitor selected from
      ketoconazole, itraconazole, nefazodone, ritonavir, nelfinavir, indinavir,
      boceprevir, clarithromycin, conivaptan, lopinavir, posaconazole,
      saquinavir, telaprevir, cobicistat, troleandomycin, tipranivir,
      paritaprevir and voriconazole,

      the method comprising administering to the patient a once-daily dose
      of mifepristone of 900 milligrams (mg) per day.

Appx128 (68:15–24) (spacing enhanced for clarity).

             4.        Corcept updates the Korlym label in 2019 to account for the
                       study results but retains the warnings about co-
                       administration.
      After completing the DDI study, Corcept revised its label in 2019 to permit

administration of up to 900 mg mifepristone with strong CYP3A inhibitors. The

revised label otherwise retained almost all the cautionary language concerning the

risks of co-administration found in the 2012 label. Appx4235–4256; see Appx15–

18 (district court’s summary of relevant changes between the 2012 and 2019

labels). For example, the 2019 label notes that “[c]oncomitant use can increase

mifepristone plasma levels” and therefore should be done “only when necessary.”

Appx4235; see Appx4240 (“KORLYM should be used in combination with strong


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CYP3A inhibitors only when necessary, and in such cases the dose should be

limited to 900 mg per day.”); Appx4245 (similar).

       The 2019 label also provides a table specifying the “[a]djustment to dose of

mifepristone tablets if adding a strong CYP3A inhibitor”:




Appx4238. If Korlym is administered to a patient already taking a strong CYP3A

inhibitor, the label states: “Start at a dose of 300 mg. If clinically indicated, titrate

to a maximum of 900 mg.” Appx4238.

       The label for Teva’s mifepristone product is substantively identical to the

2019 Korlym label. Appx20 (citing Appx4235–4256; Appx4040–4058).

       B.     Proceedings before the district court

              1.     Corcept sues Teva for infringement.
       Teva filed an Abbreviated New Drug Application (ANDA) seeking approval

to market a generic version of Korlym in 2017. Appx20. Corcept then sued Teva,

asserting two patents that it subsequently dropped from the litigation. All told,

Corcept has asserted nine patents against Teva during the six-year history of this

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case. By the time of trial, Corcept had dropped all but two: the ’214 and ’800

patents described above.

             2.    The district court holds trial on a single issue: whether Teva
                   will induce infringement of the ’214 and ’800 patents.
      In 2021, the parties cross-moved for summary judgment concerning

infringement of the ’214 patent. (The summary-judgment proceedings did not

involve the ’800 patent because Corcept did not assert that patent until 2023.2) The

district court denied both motions, stating that it wished to hear expert testimony

regarding how healthcare providers would interpret Teva’s label. Appx523.

      The case proceeded to a bench trial in September 2023. The court heard live

testimony from inventor Dr. Belanoff as well as Dr. Carroll (Corcept’s expert) and

Dr. Snyder (Teva’s expert). Appx4 n.1. Both experts are endocrinologists with

extensive experience treating Cushing’s syndrome. Dr. Carroll has treated over 75

Cushing’s patients in 15 years of practice, see Appx455; Appx1224 (206:17–22),

while Dr. Snyder has treated approximately 100 Cushing’s patients in 50 years of

practice, see Appx1420 (376:24–25); Appx1427 (383:21–24).




      2
       The post-grant review proceedings in which the ’214 patent was found not
unpatentable likewise involved only the ’214 patent. Contra Corcept Br. 10.
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             3.     The district court rules in Teva’s favor for two independent
                    reasons.
      After hearing the evidence and receiving post-trial briefing, the district court

issued a detailed opinion concluding that Corcept failed to prove induced

infringement for two independent reasons. First, Corcept did not prove future

direct infringement because it did “not establish[] that physicians are likely to co-

administer mifepristone with a strong CYP3A inhibitor at an infringing sequence

and/or dosage.” Appx4. Second, “Corcept failed to demonstrate that Teva

possesses the specific intent to encourage” infringement “because Teva’s proposed

product label does not clearly ‘encourage, recommend, or promote’ infringement.”

Appx4 (quoting Takeda Pharm. USA, Inc. v. West-Ward Pharm. Corp., 785 F.3d

625, 631 (Fed. Cir. 2015)).

                    a.     The district court finds that Corcept did not show
                           that Teva’s product would lead to direct
                           infringement.
      The district court began its direct-infringement analysis by noting “the lack

of record evidence demonstrating that anyone has ever practiced the claimed

methods.” Appx25. Neither party’s expert had “ever prescribed mifepristone with a

strong CYP3A inhibitor to treat Cushing’s syndrome,” much less at the claimed

doses and in the claimed order, Appx28—a notable fact given that the experts have

nearly 70 years of practice experience between them. And Corcept presented no

evidence that anyone else “had ever prescribed the drugs together at an infringing
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sequence and/or dosage.” Appx28–29. Citing this Court’s decision in Genentech,

the district court observed that, while Corcept was not required to adduce evidence

of past infringement to meet its burden of proof, the lack of such evidence was

“relevant” and “persuasive.” Appx25–28 (quoting Genentech’s observation that

“past conduct is relevant to what will happen in the future”).

      The district court did not end its analysis there, however. Rather, expressly

“[c]rediting Dr. Snyder’s testimony,” the district court also found it “highly

unlikely that physicians will practice the claimed methods” in the future, for

several reasons. Appx31.

      First, the evidence showed that “physicians generally avoid co-

administering mifepristone and strong CYP3A inhibitors …. because of the

challenges of dosing mifepristone and the dangers associated with co-

administering the two substances.” Appx31. The court found “persuasive[]” Dr.

Snyder’s testimony “that physicians should ‘be very afraid’ of co-administration”

because “it could cause a ‘problem.’” Appx32 (quoting Appx1438 (394:11);

Appx1441 (397:22)). The court also noted that Corcept’s own medical director,

Dr. Moraitis, “reported that he strongly prefers monotherapy because of the

possibility of adverse drug-drug interactions.” Appx32 (citing Appx1098–1099).

And the court found it “significant that Dr. Lynette Nieman, a leading authority on

the treatment of Cushing’s syndrome, did not mention combining mifepristone

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with other drugs in a topic review of hers published in UpToDate,” a widely used

medical periodical. Appx32–33.

      Second, the district court cited the availability of an alternative treatment

that avoids the risks associated with co-administering mifepristone and strong

CYP3A inhibitors: osilodrostat. Appx33. Osilodrostat, the evidence showed, is a

“‘powerful’ and ‘effective’ drug that ‘acts rapidly’” to treat Cushing’s and is easier

to dose than mifepristone. Appx33. Again crediting Dr. Snyder, the court found

that “physicians are unlikely to co-administer mifepristone and strong CYP3A

inhibitors in the future because osilodrostat is a better drug to treat Cushing’s

syndrome.” Appx33–34. Osilodrostat presents less of a risk of adverse drug-drug

interactions when co-administered with strong CYP3A inhibitors because, unlike

with mifepristone, “one can measure cortisol and know if one’s giving the right

dose” of osilodrostat. Appx1533 (489:3–24) (Snyder).

      Third, the court found that Teva’s label “cautions against co-administration”

and that a physician who nonetheless decided to co-administer “could follow the

instructions on Teva’s label and not infringe.” Appx35. For example, as Corcept’s

expert Dr. Carroll admitted, “administering 300 mg mifepristone to a patient who

is already taking a strong CYP3A inhibitor would not infringe claim 6 of the ’800

patent.” Appx35 (citing Appx1285–1286 (267:5–9, 268:5–12)) (emphasis

omitted). “Nor would administering 600 mg of mifepristone.” Appx35 (emphasis

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omitted). “Similarly”—as Dr. Carroll also admitted—“a physician who administers

a strong CYP3A inhibitor to a patient who is already taking 300 mg or 600 mg of

mifepristone would not infringe claim 10 of the ’214 patent or claim 1 of the ’800

patent.” Appx36 (citing Appx1279–1282 (261:14–264:8)) (emphasis omitted). All

these dosing regimens are described on Teva’s label, but none of them infringes.

Appx35–36.

      Corcept had argued that infringement was likely “because most patients

require 900 mg or 1200 mg of mifepristone to achieve an efficacious result.”

Appx36. The suggested implication was that, if such a patient were to take a strong

CYP3A inhibitor with those doses of mifepristone, infringement could result.

Appx36–37. The district court rejected this argument on the facts, noting that

Corcept had adduced no evidence supporting its speculation that most patients

need 900 or 1200 mg mifepristone or that any such patients have taken or will take

mifepristone with a strong CYP3A inhibitor. Appx36–37.

                    b.     The district court finds that Corcept did not show
                           that Teva possesses specific intent to induce.
      The district court determined that this Court’s decision in HZNP disposed of

Corcept’s specific-intent arguments. HZNP held that a product label for a topical

solution instructing users to wait for the treated area to dry before applying a

second substance did not induce infringement of a patent requiring (i) application


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of the solution, (ii) waiting for the area to dry, and (iii) applying a second

substance. HZNP, 940 F.3d at 699–702. The accused label, HZNP reasoned,

recommended “only the first step of this method, nothing else.” Id. at 702.

      The district court concluded that, “[j]ust as the product label in HZNP did

not encourage, promote, or recommend the specified steps of the patented method

because nothing required post-product application of … another substance, Teva’s

label does not encourage co-administration of mifepristone and a strong CYP3A

inhibitor.” Appx40–41. “The label only provides instructions how to co-administer

the substances to achieve an efficacious result if a physician determines that it is

medically necessary,” Appx41—which was “unlikely” to happen, Appx42. “In this

context,” the court explained, “the label only provides ‘guidance’ for physicians; it

does not teach an infringing use ‘such that we are willing to infer from those

instructions an affirmative intent to infringe the patent.’” Appx41 (quoting Vita-

Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1329 n.2 (Fed. Cir. 2009)).

      The district court also “emphasiz[ed]” two additional points. Appx42. First,

Teva’s label “does not outline any benefits of co-administration or indicate the

circumstances in which the agents should be co-administered.” Appx42. Again

crediting Dr. Snyder’s testimony, the court found that “physicians would read

Teva’s label as a warning not to co-administer mifepristone and a strong CYP3A

inhibitor.” Appx43. Indeed, Corcept itself told the Patent Office during prosecution

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that nearly identical language in the 2012 Korlym label “represented a ‘forceful’

warning against coadministration.” Appx42 n.8. Second, the court noted that, “in

the unlikely event that a physician decides to co-administer mifepristone with a

strong CYP3A inhibitor, Teva’s label does not provide exclusively infringing

instructions.” Appx44. “Said differently, Teva’s label permits non-infringing

options for co-administering the substances”—meaning infringement “cannot be

assumed.” Appx44 (citing Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348,

1364–65 (Fed. Cir. 2003)).

      The district court therefore entered judgment in Teva’s favor. Appx48–49.

                       SUMMARY OF THE ARGUMENT
      The district court ruled in Teva’s favor for two independent reasons: Corcept

failed to prove direct infringement and failed to prove specific intent. To prevail on

appeal, Corcept must show that both determinations were clearly erroneous.

Corcept cannot make that showing for either issue, let alone both.

      1.     The district court did not clearly err in concluding that Corcept failed

to prove that Teva’s product, if marketed, would lead to direct infringement.

      a.     A patentee asserting induced infringement must prove an underlying

act of direct infringement. In the Hatch–Waxman context, the patentee may satisfy

that predicate by proving that the generic ANDA product, if marketed, would

infringe. See Genentech, 55 F.4th at 1379. Corcept’s repeated contentions (e.g., at

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46) that it did not need to prove future infringement and instead could satisfy its

burden merely by showing that “the ANDA label instructs an infringing use” are

thus incorrect. Indeed, the patentee in Genentech made the same argument, and this

Court rejected it. See id. Corcept therefore had to show that physicians will co-

administer mifepristone and strong CYP3A inhibitors in the particular order and at

the particular doses called for by the asserted claims.

      b.     The district court did not clearly err in finding that Corcept failed to

meet this burden. There is—undisputedly—no record evidence that anyone has

ever practiced the asserted claims. As Genentech observed, “past conduct is

relevant to what will happen in the future.” Id.

      The district court concluded that Corcept failed to meet its burden on direct

infringement for several additional reasons, each well supported in the record.

First, physicians try to avoid co-administering mifepristone and strong CYP3A

inhibitors because of a risk of drug-drug interactions. Second, physicians are

unlikely to find co-administration necessary in the future because of the

availability of osilodrostat, a recently approved drug that is easier to dose in

combination with strong CYP3A inhibitors. Third, Teva’s product label warns

against co-administration of mifepristone and strong CYP3A inhibitors and in any

event describes non-infringing dosing regimens that a physician could follow in the

unlikely event she were to co-administer. In making these findings, the district

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court repeatedly credited Teva’s expert testimony over Corcept’s. Credibility

determinations of this sort can virtually never be clear error.

      2.     Nor did the district court clearly err in concluding that Corcept failed

to prove specific intent to induce infringement.

      a.     To prove inducement, Corcept had to show that Teva’s label instructs,

recommends, or promotes infringement. Contrary to Corcept’s repeated

suggestions (e.g., at 4–5, 26, 53–56), merely describing an infringing use—without

encouraging it—is insufficient. See HZNP, 940 F.3d at 701–02.

      b.     Corcept did not make the required showing. The district court

correctly found that Corcept’s inducement arguments are foreclosed by HZNP.

That case held that a label stating “if you do X, then do Y” does not induce X, see

id.—a holding that squarely applies here. Teva’s label does not encourage

physicians to co-administer mifepristone and strong CYP3A inhibitors. On the

contrary, the label warns against the practice—a point Corcept admitted when

prosecuting the asserted patents. The label simply provides dosing instructions for

physicians to follow if they, in their independent judgment, decide to co-administer

notwithstanding those warnings. That is not inducement.

      Corcept’s heavy reliance on Vanda is misplaced. In that case, administering

the product according to its FDA-approved indication led directly to infringement,

so an inference of specific intent was justified. That is not true here. A physician

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administering mifepristone according to Teva’s label’s instructions will not and

cannot infringe unless she decides also to co-administer a strong CYP3A

inhibitor—something the label cautions physicians not to do.

      To induce infringement of a method patent, one must encourage each step of

the method. Corcept’s failure to show that the label encourages co-administration

is fatal to its inducement allegations on all asserted claims because they all require

administering mifepristone together with a strong CYP3A inhibitor.

      c.     The district court’s no-inducement conclusion is further buttressed by

its finding that Teva’s product has substantial non-infringing uses. See Warner-

Lambert, 316 F.3d at 1365 (presence of substantial non-infringing uses undercuts

any inference of specific intent to induce infringement). Indeed, “substantial” is an

understatement. So far as the evidence shows, there has never been an infringing

use of Korlym, and there is no reason to expect anything different for Teva’s

mifepristone product. The district court did not clearly err in rejecting Corcept’s

implausible argument that Teva specifically intends to induce a method of

administration that the materially identical Korlym label never has.

                            STANDARD OF REVIEW
      Following a bench trial, this Court “review[s] the district court’s judgment

for legal error or clearly erroneous findings of fact.” Genentech, 55 F.4th at 1375.



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“Infringement, including induced infringement, is a question of fact that [this

Court] review[s] for clear error.” Id. at 1375–76.

      The clear-error standard of review “does not entitle a reviewing court to

reverse the finding of the trier of fact simply because it is convinced that it would

have decided the case differently.” Anderson v. City of Bessemer City, N.C., 470

U.S. 564, 573 (1985). Rather, reversal is permitted only if “the reviewing court on

the entire evidence is left with the definite and firm conviction that a mistake has

been committed.” Id. “A trial judge … who hears witnesses and initially assesses

evidence deserves considerable latitude in making findings of fact, particularly

scientific findings of fact.” Biovail Corp. Int’l v. Andrx Pharm., Inc., 239 F.3d

1297, 1303 (Fed. Cir. 2001). “[C]redibility determinations by the trial judge ‘can

virtually never be clear error.’” First Interstate Bank of Billings v. United States,

61 F.3d 876, 882 (Fed. Cir. 1995) (quoting Anderson, 470 U.S. at 575).

                                    ARGUMENT

I.    The district court did not clearly err in finding that Teva’s mifepristone
      product will not likely lead to direct infringement.
      It is well settled that proving inducement requires proving an underlying act

of direct infringement. It is equally well settled that, in the Hatch–Waxman

context, proving that predicate act means proving by a preponderance of the

evidence that the accused product would infringe if put on the market. The district

court found that Corcept did not make that showing here.
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      Corcept cannot show clear error in that finding, so Corcept tries to rewrite

the law. Corcept attempts—in its own words (at 46)—to “‘collapse’” the induced-

infringement question “into one inquiry focused exclusively on” whether the label

recommends infringement, without regard to other probative evidence. This

Court’s precedents—most recently, the 2022 Genentech decision—foreclose that

rigid approach. Under the proper legal standard, the district court’s finding that

Corcept failed to prove direct infringement is amply supported by the record,

including the evidence of physician practice and the product label itself.

      A.     Corcept was required to show direct infringement as an element
             of its case, and its attempts to evade that burden fail.

             1.     Corcept bore the burden to show it is more likely than not
                    that Teva’s product, if marketed, would perform all steps of
                    the claimed method—an inquiry that requires analysis of all
                    relevant evidence, including the label and physician
                    practice.
      The “case law leaves no doubt that inducement liability may arise if, but

only if, there is direct infringement.” Limelight Networks, Inc. v. Akamai Techs.,

Inc., 572 U.S. 915, 921 (2014) (cleaned up). To prevail on its inducement claim,

then, Corcept had to show a predicate act of direct infringement. See id. at 920–21.

      That Corcept brought this case under 35 U.S.C. § 271(e)(2) does not relieve

Corcept of that burden. See Glaxo, Inc. v. Novopharm, Ltd., 110 F.3d 1562, 1568–

69 (Fed. Cir. 1997). “[A]lthough the Hatch–Waxman Act provides that the filing of

an ANDA … meets the technical jurisdictional requirement of infringement, that is
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not the same as the direct infringement that serves as a predicate for finding

induced infringement.” Genentech, 55 F.4th at 1379. To show direct infringement,

Corcept was required to “prove that the product that [Teva] ultimately would put

on the market would likely infringe” Corcept’s patents. Glaxo, 110 F.3d at 1567.

That inquiry requires consideration of “all the relevant evidence, including [the]

proposed label and physician practice.” Genentech, 55 F.4th at 1380.

             2.     Genentech forecloses Corcept’s contention that Teva’s label
                    is “dispositive.”
      While Corcept pays lip service to this principle, see Corcept Br. 30,

Corcept’s arguments are irreconcilable with it. Citing Vanda, Corcept contends (at

29, 32–35) that Teva’s label is “dispositive” because (according to Corcept) Teva’s

label recommends an infringing use and no more is required to satisfy Corcept’s

burden. As an initial matter, the district court concluded—correctly—that Teva’s

label does not recommend infringement. See supra Statement of the Case; infra

Section I.B.2.c; infra Section II. So Corcept’s premise fails. More to the point,

however, Corcept’s reading of Vanda as “collaps[ing]” “the elements of induced

infringement … into one inquiry focused exclusively on the language of the

product label,” Corcept Br. 46, was squarely rejected by this Court in Genentech—

a case bearing close similarities to this one.




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      Genentech was a Hatch–Waxman lawsuit involving the drug pirfenidone,

indicated to treat idiopathic pulmonary fibrosis, or “IPF.” Genentech asserted three

so-called “DDI claims” involving co-administration of pirfenidone and

fluvoxamine, a strong CYP1A2 inhibitor. 55 F.4th at 1371, 1374. Genentech

discovered that “[p]irfenidone is highly susceptible to drug-drug interactions with

CYP1A2 inhibitors” and obtained claims “involv[ing] methods for administering

pirfenidone to a patient taking fluvoxamine by either discontinuing fluvoxamine or

modifying the dose of pirfenidone and continuing fluvoxamine.” Id. at 1374. The

three asserted claims recited (respectively) (i) discontinuing fluvoxamine and then

administering pirfenidone to an IPF patient; (ii) co-administering fluvoxamine and

801 mg/day pirfenidone to an IPF patient; and (iii) reducing the dose of

pirfenidone from 2400 mg/day to 800 mg/day when co-administering with

fluvoxamine to an IPF patient. Id. at 1374–75. The accused Sandoz label stated

that “concomitant administration of pirfenidone and fluvoxamine … is not

recommended because it significantly increases exposure to pirfenidone.” Id. at

1375. Accordingly, the label continued, “‘discontinue fluvoxamine prior to

administration of pirfenidone or reduce pirfenidone to 267 mg three times a day,’

for a total of 801 mg/day.” Id. (cleaned up).

      “At the district court, Sandoz argued that there was insufficient evidence of

direct infringement.” Id. That “court agreed and added that the language in

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Sandoz’s label that encourages, recommends, or promotes an infringing use

without any additional evidence showing such an infringing use will in fact occur,

is insufficient for a finding of direct infringement.” Id. In the district court’s view,

“Genentech had not shown that any patient would be prescribed both pirfenidone

and fluvoxamine such that the methods of the DDI patents would even be

relevant,” and, in any event, “if any IPF patient were prescribed fluvoxamine, a

physician would likely choose a non-infringing treatment adjustment over any of

the claimed methods.” Id.

      This Court affirmed. In doing so, it rejected Genentech’s argument (nearly

identical to Corcept’s argument here) that the district court “erred in concluding

that Sandoz’s proposed label, which encourages, recommends, and promotes

infringement, is not dispositive.” Id. at 1378. The dispositive issue, the Court

explained, is whether infringement is likely “if a particular drug were put on the

market”—an issue that “requires ‘consideration of all the relevant evidence,’

including the proposed label’s instructions and physician practice.” Id. at 1379.

      And, while a patentee need not prove past infringement to prevail in a

Hatch–Waxman case, “past conduct is relevant to what will happen in the future.”

Id. The district court therefore “did not clearly err by considering all the relevant

evidence …. including testimony from physicians that, in their decades of treating

IPF patients, they had never prescribed pirfenidone to an IPF patient taking

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fluvoxamine; and were they to find themselves in that position, they would choose

a non-infringing response—i.e., prescribing nintedanib [another drug used to treat

IPF] instead.” Id. And “[t]he court did not clearly err by considering physician

evidence, weighing it against the language in Sandoz’s proposed label, and finding

that Genentech failed to prove direct infringement.” Id.

      Genentech eviscerates Corcept’s argument that Teva’s label is dispositive. In

that case, both the district court and the Federal Circuit assumed certain language

in Sandoz’s label recommended infringement. See id. at 1375, 1378–79. Yet both

courts still found no direct infringement, because Genentech failed to show that

any future infringement was likely. Id. at 1380. This Court also declined to reach

the issue of specific intent, underscoring that whether the label recommended

infringement was irrelevant in view of the district court’s supportable finding that

direct infringement was unlikely. Id. at 1381.

      It is thus decidedly not the law that “[w]hen the ANDA label instructs an

infringing use, the elements of induced infringement do ‘collapse’ into ‘one

inquiry focused exclusively on the language of the product label,’” Corcept Br. 46.

The district court correctly rejected this argument. See Appx26; see also Takeda,

785 F.3d at 634–35 (affirming district court’s conclusion that patentee failed to

carry its burden to “show likelihood of direct infringement,” and therefore not

“reach[ing] the question of whether there was evidence of inducement”).

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      Genentech likewise rejected Corcept’s reading of Vanda as holding that “the

language of the label itself” can constitute direct infringement, Corcept Br. 30. As

Genentech explained, Vanda found no clear error in the district court’s finding that

the patentee met its burden to show future infringement by introducing evidence

that the generic’s proposed label recommended the claimed method and evidence

that physicians had actually practiced the elements of the asserted claims. Vanda

Pharms. Inc. v. W.-Ward Pharms. Int’l Ltd., 887 F.3d 1117, 1130–31 (Fed. Cir.

2018); see Genentech, 55 F.4th at 1380 (summarizing Vanda). What is more,

Vanda reaffirmed the proposition that “‘the infringement determination is based on

consideration of all the relevant evidence.’” 887 F.3d at 1130 (cleaned up) (quoting

Ferring B.V. v. Watson Lab’ys, Inc.-Fla., 764 F.3d 1401, 1408 (Fed. Cir. 2014)).

As the district court observed, “[t]here is nothing new about th[at] proposition.”

Appx27. Vanda thus did not hold that the label necessarily resolves the direct-

infringement inquiry. Quite the opposite: Vanda emphasized the relevance of real-

world practice. See Genentech, 55 F.4th at 1380.

      Corcept contends (at 35–36) that it is “legal error” to “focus[] on

‘information’ outside the ANDA in cases where, as here, the ANDA directly

answers the infringement inquiry.” This argument is misplaced. In a case involving

method patents, the ANDA does not necessarily answer the direct-infringement



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question, because the patentee must show that the generic product would be used

to practice the patented method. That is the lesson of Genentech.

      The cases Corcept cites stand only for the proposition that a court may not

assume that a generic company will manufacture something other than what it

seeks approval to market in its ANDA. See Par Pharm., Inc. v. Eagle Pharm., Inc.,

44 F.4th 1379, 1384 (Fed. Cir. 2022) (finding non-infringement of claim requiring

pH range of 3.7–3.9 where ANDA specifications “restrict[ed] the pH of the

proposed product” to a different pH range); Sunovion Pharm., Inc. v. Teva Pharm.

USA, Inc., 731 F.3d 1271, 1280 (Fed. Cir. 2013) (finding infringement of claim

requiring eszopiclone with less than 0.25% levorotatory isomer where ANDA

specification defined generic product as “eszopiclone with 0.0–0.6% levorotatory

isomer,” which “indisputably include[d]” the claimed range); In re Brimonidine

Patent Litig., 643 F.3d 1366, 1377 (Fed. Cir. 2011) (district court erred by

assuming that generic would manufacture a drug with a different pH than specified

in its ANDA); Abbott Lab’ys v. TorPharm, Inc., 300 F.3d 1367, 1374 (Fed. Cir.

2002) (finding infringement of claim requiring “a 1:1 molar ratio of sodium

valproate and valproic acid” where ANDA defined the compound as comprising

“sodium valproate and valproic acid in a 1:1 molar relationship”). In other words,

if the ANDA specification defines the ANDA product “such that it must meet a



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limitation of an assertion claim,” a finding of infringement is generally proper.

Abbott, 300 F.3d at 1373.

      Corcept’s argument is very different. Corcept is contending that courts may

not look at real-world practice to determine whether future infringement of a

patented method involving the ANDA product is likely. That position is illogical

and squarely foreclosed by Genentech.

             3.     Corcept’s assertion that the district court had to analyze the
                    evidence in a specific order is meritless.
      Corcept also contends (e.g., at 4, 29–30, 35–36) that, even if the direct-

infringement analysis is not limited to the label, the district court had to at least

start with the label. Corcept cites no authority for this proposition, and for good

reason: no principle of law or logic required the court to canvass the evidence in

any particular order. Genentech is again instructive: this Court’s analysis of direct

infringement focused almost exclusively on real-world physician practice and

hardly mentioned the label. See 55 F.4th at 1380–81. The district court here began

with the lack of evidence of direct infringement, but it did not end there: the court

also considered both evidence of what would likely happen in the future and the

content of Teva’s label. Appx25–38. That mode of analysis was entirely proper.

      Corcept rejoins (at 23, 43) that Genentech was different because there “the

label[] specifically instructed against infringement.” As an initial matter, to the


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extent the label in Genentech warned against infringement, that would not

distinguish it from this case because Teva’s label likewise warns against

infringement. Appx35. In any event, unlike in this case, parts of Sandoz’s label did

encourage infringement: one of Genentech’s asserted patents required

discontinuing fluvoxamine and then administering pirfenidone, and the label stated

that co-administration of the two drugs was not recommended and instructed

physicians to “discontinue fluvoxamine prior to administration of pirfenidone.” 55

F.4th at 1375. If Corcept’s label-takes-primacy-over-everything view of the law

were correct, Genentech could not have come out the way it did.

      B.     The district court supportably concluded that Corcept did not
             show direct infringement.
      As the district court found, Corcept failed to prove that Teva’s product, if

marketed, “would likely infringe” Corcept’s patents, Glaxo, 110 F.3d at 1567. That

finding was not clearly erroneous. There is—undisputedly—no record evidence of

past infringement, and the district court correctly found, after a comprehensive

review of the evidence, that future infringement is unlikely.

      One point bears emphasis at the outset. Corcept’s assertion (at 21) that

“[t]his was not a case that required resolution of conflicting expert testimony” is

simply wrong. The district court denied summary judgment because it wanted to

hear from the experts. Appx523. Having heard from them, the court repeatedly


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found Teva’s expert more credible. The court uniformly resolved conflicts between

the expert testimony in favor of Dr. Snyder, on both the direct-infringement and

specific-intent issues. See Appx11 (crediting Dr. Snyder’s testimony that co-

administration is rare); Appx30–31 (“[c]rediting Dr. Snyder’s testimony … [that] it

is highly unlikely that physicians will practice the claimed methods”); Appx32

(same); Appx38 (same); Appx33–35 (crediting as “persuasive[]” Dr. Sndyer’s

testimony that “physicians are unlikely to co-administer mifepristone and strong

CYP3A inhibitors in the future because osilodrostat is a better drug to treat

Cushing’s syndrome”); Appx43 (crediting Dr. Snyder’s testimony “that physicians

would read Teva’s label as a warning not to co-administer mifepristone and a

strong CYP3A inhibitor”). Such credibility determinations “can virtually never be

clear error.” Anderson, 470 U.S. at 575. Indeed, Vanda—the case on which

Corcept most heavily relies—emphasizes this point. 887 F.3d at 1131–32. And

Corcept certainly cannot show clear error by block-quoting its own expert’s

testimony in its appellate brief, e.g., Corcept Br. 33.

             1.     There is no evidence of past infringement.
      So far as the evidence shows, not a single person has ever practiced

Corcept’s patents. Appx25; Appx29. That much is undisputed. Corcept’s failure to

adduce such evidence speaks volumes: it is hardly plausible to think Teva’s label



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will lead to infringement when the identical Korlym label—which has been around

for almost five years—has not.3

      Corcept’s assertion (at 24, 41–42) that the district court erroneously required

proof of past infringement is wrong. The district court did no such thing. The court

stated—three times—that such evidence was not required. Appx25; Appx27;

Appx30 n.6. It simply noted that the absence of such evidence is “relevant,”

Appx27, which it indisputably is under Genentech, see 55 F.4th at 1379.

“Determining what will, or would, happen when a product enters the market

requires consideration of all the relevant evidence, including the proposed label’s

instructions and physician practice.” Id. at 1380 (cleaned up).




      3
         Corcept’s suggestion (at 35 n.3, 46–47) that it did not have sufficient
opportunity to adduce evidence of past infringement because there were only 11
months between the release of the 2019 Korlym label and the end of fact discovery
is meritless. Nearly all the evidence of co-administration Corcept put forward at
trial came to light during expert discovery or shortly before trial. See, e.g., Corcept
Br. 39–40 (citing expert testimony about occasional co-administration); Appx29
(same). Corcept had four years to marshal its evidence; it was plainly not laboring
under the misimpression that it could not supplement the record after fact
discovery. (Indeed, as Corcept admits (at 47), it (unsuccessfully) tried to
supplement the record after trial with a series of never-before-proffered conclusory
hearsay declarations. Appx30 n.6.) The district court permissibly concluded that
Corcept’s failure to introduce evidence of direct infringement was not for lack of
opportunity, but rather because infringement “is not likely” to happen. Appx30.
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               2.     Future infringement is unlikely.
      In addition to noting the lack of evidence of past infringement, the district

court found that future infringement is unlikely for several reasons. Those findings

are well supported.

                      a.    The district court supportably found that physicians
                            wish to avoid co-administration of mifepristone and
                            strong CYP3A inhibitors.
      The district court credited Dr. Snyder’s testimony that co-administration is

generally undesirable “because of the challenges of dosing mifepristone and the

dangers associated with co-administering the two substances.” Appx31. Ample

evidence supports that finding. It certainly is not clear error. See Anderson, 470

U.S. at 575.

      Because mifepristone does not decrease cortisol levels, a physician

administering mifepristone cannot measure cortisol to determine the proper dose.

Appx1177–1178 (159:14–160:3) (Belanoff); Appx1428–1429 (384:24–385:20)

(Snyder). Adding a strong CYP3A inhibitor to the picture complicates things

further, because—as Dr. Carroll admitted—doing so can raise mifepristone blood

levels and therefore increase the chances of dangerous and potentially fatal side

effects. Appx1321 (303:9–22) (Carroll). So a physician would “be very afraid” to

co-administer the two drugs. Appx32 (quoting Dr. Snyder’s testimony). Indeed,



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Corcept’s own medical director stated that combination therapy of any kind is

typically disfavored for Cushing’s. Appx32 (citing Appx1098–1099 (96–97)).

      The district court properly noted the “significan[ce]” of the fact that “Dr.

Lynette Nieman, a leading authority on the treatment of Cushing’s syndrome, did

not mention combining mifepristone with other drugs in a topic review” published

in a leading medical periodical. Appx33. The court “agree[d]” with Dr. Snyder

“that the absence of any such discussion in sections of the topic review addressing

combination therapy is telling”: it strongly suggests that the combination is not a

likely choice for treating physicians. Id. “Indeed,” the court noted, “Corcept ha[d]

no real response” to this point. Id. Corcept has no response on appeal either.

      The arguments Corcept does advance on this issue mischaracterize the

record. There is no evidence that “co-administration of mifepristone and a strong

CYP3A inhibitor is ‘often the best choice’ for patients.” Contra Corcept Br. 12

(capitalization omitted); id. at 13, 38. And the district court made no such finding.

The quoted language is from a passage of the district court’s opinion summarizing

Dr. Belanoff’s testimony that certain strong CYP3A inhibitors—by themselves—

may be the “‘best choice’ for addressing a particular manifestation of Cushing’s

syndrome.” Appx10. But it does not follow that co-administration of strong

CYP3A inhibitors and mifepristone is “often the best choice” for Cushing’s

patients. The district court found otherwise, crediting Dr. Snyder: “the record

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evidence demonstrates that physicians generally avoid co-administering

mifepristone and strong CYP3A inhibitors” to Cushing’s patients. Appx31–32.

      Corcept’s contention (at 39) that “there is no dispute that doctors have

always ‘desired’ to co-administer mifepristone with strong CYP3A inhibitors” is

also false. That point was very much disputed, and the district court resolved the

factual dispute in Teva’s favor. Appx32–33; contra Corcept Br. 9 (falsely stating

that it is “undisputed” that combining mifepristone and ketoconazole is a “logical

choice” today). The documents Corcept cites in support of this argument are from

over a decade ago, at the time of Korlym’s approval. See Corcept Br. 39 (citing

FDA approval materials and associated testimony); id. at 9 (quoting article from

2013). The FDA did indeed predict in 2012 that there was a potential for co-

administration of mifepristone and strong CYP3A inhibitors. See, e.g., Appx4468.

But the trial evidence showed the FDA’s prediction was wrong. Over a decade

later, as the district court found, cases of co-administration are rare, and cases of

infringement are nonexistent. Appx29.4


      4
         Corcept’s reliance (at 19–20, 39) on Teva’s arguments in the ’214 patent
PGR is misplaced for similar reasons. That proceeding concerned obviousness,
which is assessed from the point of view of a skilled artisan at the time of the
invention. Teva argued that co-administration was obvious because the FDA stated
that it was likely when it approved Korlym in 2012. That is in no way inconsistent
with Teva’s argument (and the district court’s finding) that, as things have turned
out, co-administration is in fact rare and so is unlikely to occur in the future. The

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      Nor does Dr. Dobs’ testimony aid Corcept’s argument. Contra Corcept Br.

39–40. Dr. Dobs has treated about a hundred Cushing’s patients but co-

administered mifepristone and ketoconazole only “two to three times” (and never,

as far as the record shows, in an infringing manner). Appx1053–1054 (51:24–

52:8); Appx1060 (58:16–21). That hardly suggests that co-administration is likely

or that doctors often want to do it. More to the point, even if Corcept had

“introduced other evidence that could have supported a contrary finding” to the

one reached by the district court, that “does not compel the conclusion that the

district court clearly erred.” Vanda, 887 F.3d at 1131–32.

      Finally, Corcept’s observation (at 48) that “[r]are infringement is still

infringement” is beside the point. Co-administration, standing alone, is not

infringement. Corcept’s patents require co-administration in a specific order and at

a specific dose. So the fact that co-administration may “rare[ly]” occur, Appx29,

does not suggest that infringement is ever likely to occur. On the contrary, the

infrequency of co-administration suggests the opposite. Appx28–29; Appx31–33.




district court plainly appreciated this point given its ruling in Teva’s favor. Contra
Corcept Br. 20 (incorrectly suggesting that the court found “clear inconsistencies
in Teva’s positions”).
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                    b.     The district court supportably found that physicians
                           are unlikely to find co-administration necessary given
                           the availability of osilodrostat.
      The district court also credited Dr. Snyder’s testimony that “physicians are

unlikely to co-administer mifepristone and strong CYP3A inhibitors in the future

because osilodrostat is a better drug to treat Cushing’s syndrome.” Appx33. That

determination was not clear error. The evidence showed that osilodrostat is a

powerful and effective drug that acts quickly and does not present the same safety

risks when co-administered with strong CYP3A inhibitors. Appx1430 (386:19–22)

(Snyder). Unlike mifepristone, osilodrostat inhibits the synthesis of cortisol, so a

physician can readily determine the proper dose of osilodrostat by measuring

cortisol levels. Appx1428–1430 (384:9-12, 386:17–19) (Snyder). The district court

found “credible and persuasive” Dr. Snyder’s testimony that a physician faced with

a patient who needed both a strong CYP3A inhibitor and a treatment for Cushing’s

syndrome would have ample reason to select osilodrostat over mifepristone.

Appx34.

      Corcept quibbles with these findings in a footnote, arguing (at 49 n.6) that

osilodrostat has a narrower indication than mifepristone and that the osilodrostat

label recommends a large dose reduction when co-administered with strong

CYP3A inhibitors. To the extent Corcept has not forfeited these arguments, but see

Roche Diagnostics Corp. v. Meso Scale Diagnostics, LLC, 30 F.4th 1109, 1116

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(Fed. Cir. 2022) (arguments raised in footnotes are not preserved), they are

meritless. Corcept lost this issue on the facts. The district court credited Dr.

Snyder’s testimony that osilodrostat, while only indicated for the treatment of

Cushing’s disease (a subset of Cushing’s syndrome) is “widely used off-label for

Cushing’s syndrome.” Appx34 (citing Appx1518–1520 (474:2–15, 476:21–25)).

The court also credited Dr. Snyder’s testimony that it is safer to administer

osilodrostat than mifepristone with a strong CYP3A inhibitor notwithstanding the

fact that osilodrostat blood concentration changes more in the presence of a strong

CYP3A inhibitor. See Appx33–34. That is because, with osilodrostat, a physician

can measure cortisol levels to determine whether the correct dose of the drug is

being administered. Appx1533 (489:10–24) (Snyder).

      Corcept claims (at 48–49) to be unaware of “any authority … suggesting

that the presence of another drug on the market to treat some of the same patient

population ... is relevant to direct infringement in a Hatch-Waxman case.”

Genentech, however, endorsed the district court’s finding that direct infringement

was unlikely because a physician faced with “an IPF patient taking fluvoxamine”

would decline to prescribe pirfenidone (the drug at issue in the case) and

“prescrib[e] nintedanib” (another drug on the market used to treat IPF) “instead,”

because doing so avoided a potential pirfenidone-fluvoxamine drug-drug

interaction. Genentech, 55 F.4th at 1380. Similar reasoning applies here: the

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evidence showed that a physician who needed to administer both a strong CYP3A

inhibitor and a Cushing’s syndrome treatment would have good reason to prescribe

osilodrostat instead of mifepristone to avoid a potential drug-drug interaction

between mifepristone and strong CYP3A inhibitors.

                   c.      The district court supportably found that Teva’s label
                           warns against co-administration.
      Future infringement is unlikely for the additional reason that, as the district

court found, Teva’s label warns against co-administration of mifepristone and a

strong CYP3A inhibitor. Appx35; Appx1437 (393:11–18) (Snyder); infra Section

II. Section 2.5 states that the drugs should be used in combination only when

necessary, as the blood concentration of mifepristone can rise. Appx1438–1443

(394:18–395:8, 399:4–12) (Dr. Snyder’s discussion of the label). Sections 5.6 and

7.2 of the label contain warnings against co-administration. Appx1440 (396:14–18)

(Snyder). And the medication guide—the portion of the label directed to patients—

also contains warnings, telling patients there could be serious side effects when

mifepristone is given with strong CYP3A inhibitors. Appx1441 (397:7–16)

(Snyder); see Appx4056–4058. Dr. Snyder testified that, taken as a whole, “the

label says to the physician, be scared. Be very scared. This could cause a problem.”

Appx1441 (397:17–22). The district court expressly credited this testimony.

Appx32. It did not clearly err in doing so. See Anderson, 470 U.S. at 575.


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                   d.      The district court supportably found that, in the
                           unlikely event physicians co-administer the two drugs,
                           they could follow the label’s instructions without
                           infringing.
      Finally, the district court observed that, even if a physician were to

administer mifepristone and a strong CYP3A inhibitor together, Teva’s label

describes non-infringing ways of doing so. Appx35. Dr. Carroll admitted as much.

Appx35–36; Appx1285–1286 (267:10–13, 268:5–12) (Carroll). Specifically:

       The label states that, if a physician administers mifepristone to a patient
        taking a strong CYP3A inhibitor, the physician should “start at a dose of
        300 mg.” Appx4043. That would not infringe. Appx35; contra Corcept
        Br. 50–51 (incorrectly stating that “for a patient already taking a strong
        CYP3A inhibitor, the label only recommends titrating to an infringing
        900 mg dose”).

       The label states that, if a physician administers a strong CYP3A inhibitor
        to a patient taking 300 mg mifepristone, the dose of mifepristone should
        not be changed. Appx4043. That would not infringe. Appx36.

       The label states that, if a physician administers a strong CYP3A inhibitor
        to a patient taking 600 mg mifepristone, the dose of mifepristone should
        be reduced to 300 mg. Appx4043. That would not infringe. Appx36.

In short, co-administration is highly unlikely and, even if co-administration

happens, there are non-infringing ways to do it. The district court thus supportably

concluded that future infringement is unlikely. Appx35–37.

      Corcept protests (at 50) that there are not necessarily non-infringing options

“for any given patient” because “there is only one appropriate dose of mifepristone

for any given patient.” The implication, apparently, is that infringement will

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necessarily result from following the dose adjustments in Table 1 for some patients

(those whose “only” appropriate dose is 900 mg or 1200 mg). This argument is

flawed for multiple reasons.

      As an initial matter, Corcept’s premise is unsupported. Corcept cites

testimony from Dr. Belanoff that Korlym patients have an “optimal dose.”

Appx1164–1665. But (i) that is not the same thing as saying there is “only one

appropriate dose” of mifepristone for every Cushing’s patient who also takes a

strong CYP3A inhibitor and (ii) in any event, the district court was not required to

credit Dr. Belanoff’s testimony, see Star Scientific, Inc. v. R.J. Reynolds Tobacco

Co., 655 F.3d 1364, 1378 (Fed. Cir. 2011) (factfinder is “entitled to credit or

discredit testimony before it”).

      The more fundamental problem with this argument is that Corcept did not

show that “any of the three patient groups covered by the claims,” Corcept Br. 50,

is likely to be administered mifepristone and a strong CYP3A inhibitor in the first

place. The district court found that this was not likely, both because co-

administration is so unusual and because Corcept presented no “evidence regarding

the average dose of Korlym that patients receive in practice, or the number of

patients who have taken 300 mg, 600 mg, 900 mg, or 1200 mg of Korlym, or the

number of patients who have taken Korlym together with ketoconazole [a strong

CYP3A inhibitor].” Appx36–37.

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      Corcept does not and cannot show that finding was clear error. Instead,

Corcept attempts (at 24–25, 35, 41–42) to twist it into a “requirement” that Corcept

prove the “prevalence” of infringement. The district court imposed no such

requirement. Corcept injected the idea of prevalence into the arguments by

speculating that most Cushing’s patients need 900 mg or 1200 mg mifepristone.

The district court properly rejected this unsupported speculation, which further

reinforced its finding that any future infringement is unlikely. Appx37. It neither

stated nor implied that a finding of infringement would require most patients to

infringe.

                                     *      *      *

      The district court comprehensively analyzed the evidence, weighed the

competing expert testimony, and concluded that Corcept failed to show that Teva’s

mifepristone product will lead to direct infringement. Corcept has not come close

to showing that finding was clear error. This was a classic battle of the experts, and

Corcept lost it on the facts. That is a sufficient basis for this Court to affirm.

II.   The district court did not clearly err in finding that Teva’s label will not
      induce infringement.

      A.     In the Hatch–Waxman context, inducement liability attaches only
             if the drug product label recommends, encourages, or promotes
             infringement; merely describing an infringing use is insufficient.
      In Hatch–Waxman cases where “it is alleged that the drug label induces

infringement by physicians[,] [t]he label must encourage, recommend, or promote
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infringement.” Takeda, 785 F.3d at 631. “The mere existence of direct

infringement by physicians, while necessary to find liability for induced

infringement, is not sufficient for inducement.” Id. Instead, “specific intent and

action to induce infringement must be proven.” Id. (quoting Warner-Lambert, 316

F.3d at 1364). “This requirement of inducing acts is particularly important in the

Hatch–Waxman Act context because the statute was designed to enable the sale of

drugs for non-patented uses” even if it results in some infringing uses. Id. And—

importantly for this case—“[m]erely describing an infringing mode is not the same

as recommending, encouraging, or promoting an infringing use, or suggesting that

an infringing use should be performed.” Id. (cleaned up).

      Corcept’s framing of the legal standard contradicts the foregoing precedent.

Corcept cites (at 4–5, 25, 53–56) cases, including the Supreme Court’s decision in

Grokster, noting that “instructing how to engage an infringing use” may supply

evidence of inducement. And Corcept reasons from there that Teva’s label must

induce because it provides dosing adjustments that can lead to infringement if

physicians decide to co-administer mifepristone and strong CYP3A inhibitors. In

other words, Corcept is equating a description of infringement to inducement of

infringement. See Appx1362 (318:13–17) (Carroll) (Corcept’s expert stating his

“understanding that if a package insert describes a patented method, that’s enough

for there to be liability for induced infringement”). The full context of Grokster’s

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analysis and this Court’s subsequent precedent demonstrate the error of Corcept’s

argument.

      In Grokster, the Supreme Court explained that “[e]vidence of active steps

taken to encourage direct infringement, such as advertising an infringing use or

instructing how to engage in an infringing use, show an affirmative intent that the

product be used to infringe.” Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,

545 U.S. 913, 936 (2005) (emphasis added). A “showing that infringement was

encouraged overcomes the law’s reluctance to find liability when a defendant

merely sells a commercial product suitable for some lawful use.” Id.; see id. at 937

(inducement requires “clear expression or other affirmative steps taken to foster

infringement”).

      As this discussion shows, while instructions on “how to engage in an

infringing use” may support a finding of inducement, they do so only if they

“evidence ‘intent to encourage infringement.’” Takeda, 785 F.3d at 631 (quoting

Vita-Mix, 581 F.3d at 1329). Thus the rule that a mere description of an infringing

use is not inducement. Something more—something that allows the court to infer

that the defendant specifically intends to cause infringement—is required. See id.

      As discussed below, the district court correctly found that Teva’s description

of infringing dosing regimens (among other dosing regimens) is just that: a

description. Teva’s label does not encourage co-administration of mifepristone and

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strong CYP3A inhibitors, which every asserted claim requires. The “label does not

outline any benefits of coadministration or indicate the circumstances in which the

agents should be coadministered,” but instead “warns physicians against

coadministration.” Appx42. Indeed, the idea that Teva intends its label to induce an

infringing event that, so far as the evidence shows, has never happened—not in the

forty years mifepristone has been used to treat Cushing’s, not in the twelve years

Korlym has been on the market, and not in the five years since the 2019 Korlym

label was approved—is implausible.

      B.     The district court supportably found that Teva’s label does not
             recommend, encourage, or promote co-administration of
             mifepristone and strong CYP3A inhibitors, as required by all
             asserted claims.
      To induce infringement of a method patent, one must encourage each step of

the method. Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1219 (Fed. Cir.

2014). Here, to prove inducement, Corcept had to prove that Teva’s label

encourages co-administration of mifepristone and a strong CYP3A inhibitor.

Corcept failed to do so.

             1.     HZNP is dispositive.
      As the district court correctly found, Appx39–45, this Court’s decision in

HZNP is directly on point and fatal to Corcept’s infringement case. HZNP’s

patents claimed a method of (i) applying diclofenac to the knee, (ii) waiting for the

treated area to dry, and (iii) applying sunscreen, insect repellant, or a second
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medication to the treated area. 940 F.3d at 700–02 & n.10. Actavis’s label

instructed to apply diclofenac to the knee to treat osteoarthritis and to “[w]ait until

area is completely dry before covering with clothing or applying sunscreen, insect

repellant, cosmetics, topical medications, or other substances.” Id. at 699–700. The

district court granted summary judgment of no induced infringement because the

“claimed method require[d] application of a second topical agent whereas the label

merely permit[ted], without encouraging, post-product application of sunscreen,

insect repellant, or a second topical medication.” Id. at 686, 700–01.

      This Court affirmed. “Merely describing the infringing use, or knowing of

the possibility of infringement, will not suffice” for inducement liability, the Court

explained; “specific intent and action to induce infringement must be shown.” Id.

at 702. And Actavis’s label only described infringement, without encouraging it.

Id. The patent “require[d] three distinct steps”: “(1) apply the inventive

formulation, (2) wait for the area to dry, and (3) apply sunscreen, insect repellant,

or a second topical medication.” Id. The label, however, required only “the first

step of this method, nothing else.” Id. And the warning about waiting for the

treated area to dry before subsequent application “operate[d] in an ‘if/then’

manner: if the user wants to cover the treated area with clothing or apply another

substance over it, then the patient should wait until the area is dry.” Id. This, the

Court explained, did “not encourage infringement.” Id. Instead, “the label merely

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provided guidance to patients about what to do if the pat[i]ent desired to have

anything come into contact with the knee after application of the medication.” Id.

      That holding squarely applies here. Appx40–41. The asserted patents require

administration of a strong CYP3A inhibitor to a patient already taking

mifepristone, or vice versa, along with an adjustment of the mifepristone dose. But

Teva’s label recommends only the administration of mifepristone and “nothing

else,” HZNP, 940 F.3d at 702. It does not recommend that the physician administer

mifepristone together with a strong CYP3A inhibitor. Appx41. The warnings in the

label regarding co-administration of mifepristone and strong CYP3A inhibitors are

just that—warnings—and, like the warnings in HZNP, they operate “in an ‘if/then’

manner: if the user wants to [take a strong CYP3A inhibitor], then the patient

should [reduce the mifepristone dose],” HZNP, 940 F.3d at 702. Table 1 of Teva’s

label is explicit on this point, reciting the “[a]djustment to dose of mifepristone

tablets if adding a strong CYP3A inhibitor.” Appx4043 (emphasis added). That

does not encourage infringement under HZNP.

      The district court was thus entirely correct to find HZNP “instructive.”

Appx40–41. Indeed, Corcept’s expert’s testimony—including in response to the

district court’s own discerning questions—confirms that this case fits squarely

within HZNP’s mold:



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      Q. I have one section there highlighted under the main title subtitle,
      saying: ‘Dose adjustment required.’ What does that mean?

      A. That means that if we’re going to administer mifepristone together
      with a strong CYP3A inhibitor, that you need to make an adjustment in
      the dose of mifepristone.

Appx1235 (217:19–24) (Carroll) (emphasis added).

      THE COURT: If you’re going to co-administer, you must do this? Is
      that how you interpret that?

      THE WITNESS: That’s how I would -- I think that’s an even better
      interpretation.

Appx1374 (330:5–8) (Carroll). Dr. Snyder testified similarly. Appx1443 (399:4–

8).

      Corcept protests (at 55–57) that, in HZNP, the label made “two of the three

patented steps … entirely ‘optional.’” But that is no distinction at all. As the

district court found, Appx40–42, Teva’s label makes co-administration “optional”

as well (indeed, the label goes further and advises against it, infra Section II.B.2).

Corcept may disagree with that finding. See Corcept Br. 55–56 & n.9. But Corcept

lost that argument on the facts, and Corcept cannot show clear error—indeed, it

does not even try.

      Corcept’s other attempts to distinguish HZNP similarly lack merit. Corcept

says (at 57) that, unlike in HZNP, “(i) Teva’s label instructs there will be instances

where it is ‘necessary’ to co-administer (§ 2.5); (ii) the label instructs that adjusting

the mifepristone dose is ‘required’ when co-administering (Table 3); (iii) the only

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recommended dosing instructions for co-administration to the three patient

populations at issue are infringing (§ 2.5); and (iv) the label contains clinical data

indicating it is safe to co-administer when following the ‘required’ dosage

adjustments.” Points (i), (iii), and (iv) are factually wrong, and points (i), (ii), and

(iii) do not distinguish this case from HZNP.

      Point (i) is wrong because the label does not say co-administration will ever

be necessary. It simply provides recommendations about what to do if it is

necessary. Appx42. Dr. Snyder, moreover, testified that co-administration would

never be necessary because recently better alternatives have become available—

testimony the district court found “credible and persuasive.” Appx34 (citing

Appx1454 (410:9–14)). Whether the label indicates to physicians that co-

administration will be necessary is a question of fact, see Vanda, 887 F.3d at 1130–

31, and the district court resolved this dispute in Teva’s favor. And this is no

distinction with HZNP in any event because the plaintiff there made the exact same

argument. HZNP contended that Actavis’s label implied that “application of

sunscreen is medically necessary” for patients who use diclofenac because the

label instructed that diclofenac treatment could “result[] in an earlier onset of

ultraviolet light-induced skin tumors.” HZNP, 940 F.3d at 701 & n.11. HZNP

rejected that argument, because the label nonetheless did not instruct application of

sunscreen. Id. at 702. The Court should reject Corcept’s analogous argument here.

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      As to point (ii): Teva’s label does state that a dosing adjustment is

“required” if mifepristone is administered with strong CYP3A inhibitors. But

Actavis’s label in HZNP “require[d]” waiting for the treated area to dry if the

patient was to apply a second substance after the diclofenac. Id. That was not

sufficient for inducement because the label did not recommend applying a second

substance. So too here: Teva’s label does not recommend co-administration, so

Corcept’s inducement case fails.

      Point (iii) is wrong because the label contains non-infringing dosing

instructions even for the “populations at issue,” Corcept Br. 57. For example, the

label recommends that, if mifepristone if given to a patient taking a strong CYP3A

inhibitor, the patient start at 300 mg mifepristone—a dose that would not infringe.

Appx35. And, even if it were correct, this point would not distinguish this case

from HZNP because the only recommendation in Actavis’s label for patients who

wished to apply a second substance to their knee was an infringing one. 940 F.3d at

701. That was not enough for inducement in HZNP, and it is not enough for

inducement here.

      Finally, point (iv) is wrong because the evidence showed physicians would

not read the label to suggest that co-administration is necessarily safe. Appx1446–

1449 (402:13–405:10) (Snyder). Corcept’s expert testified otherwise, but the



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district court was not required to credit that testimony. Star Scientific, 655 F.3d at

1378. This was a battle of the experts, and Corcept lost.

      In short, HZNP is on all fours with this case. The district court was right to

view that decision as controlling.

             2.     Teva’s label discourages co-administration, as the district
                    court found.
      To the extent there is any meaningful distinction between this case and

HZNP, it is this: while Actavis’s label was agnostic as to whether a second

substance should be applied after the diclofenac, Teva’s label actively discourages

co-administering mifepristone and strong CYP3A inhibitors. Appx42–44. This is

thus an easier case than HZNP.

      The district court’s finding on this score was amply supported. The court

again credited Dr. Snyder, who explained that Teva’s label “warns physicians

against co-administration” because of the serious and potentially fatal side effects

it can cause. Appx42–44 (citing Appx1437–1443 (393:11–18, 394:18–395:8,

396:14–18, 397:7–22, 399:4–12)). Teva’s label supports Dr. Snyder’s testimony.

Section 2.5 notes that “strong inhibitors of CYP3A … may increase exposure to

mifepristone” and instructs that “[m]ifepristone tablets should be used in

combination with strong CYP3A inhibitors only when necessary.” Appx4043; see

Appx1438–1439 (394:18–395:8) (Snyder). The “Warnings and Precautions” and


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“Drug-Drug Interactions” sections of the label have similar warnings. See

Appx4044–4045; Appx4047; Appx1440–1441 (396:2–18, 397:17–22) (Snyder).

Since all claims require co-administration—something the label discourages, not

encourages—there can be no inducement. Appx42–44.

      Corcept has no answer to this point, other than a half-hearted footnote

protesting (at 55–56 n.9) that “[p]rescription drugs are always prescribed with

caution.” That truism does nothing to undermine the court’s decision to credit Dr.

Snyder’s testimony that a physician consulting the mifepristone label would not

only be cautious about co-administering mifepristone and strong CYP3A

inhibitors; she would be specifically dissuaded from co-administration in view of

the label’s warnings. See Appx35; Appx42; Appx1443 (399:9–12) (Snyder).

      The remainder of Corcept’s response misses the point. Corcept repeatedly

emphasizes (e.g., at 55) that Teva’s label “require[s]” “infringing dosage

adjustment steps … when co-administering” (emphasis added). But that statement

elides the key problem with Corcept’s case, which is that the label does not tell

physicians to co-administer the drugs in the first place. Corcept is effectively

ignoring the claim limitations requiring co-administration, which contradicts this

Court’s precedent requiring inducement of every step in the claimed method. See

Ericsson, 773 F.3d at 1219. Corcept’s position would also eviscerate the



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longstanding rule that merely describing infringement is not the same as

encouraging it. See Takeda, 785 F.3d at 631.

      Corcept’s criticism of (at 56) of the district court’s purported “‘whether to

prescribe in the first place’ standard” is misplaced. “The pertinent question,” as

Corcept acknowledges (at 54), “is whether the proposed label instructs users to

perform the patented method.” A generic drug label does instruct users to prescribe

that drug. So if, for example, Corcept had patent claims directed to administer 300

mg mifepristone to treat Cushing’s syndrome, Teva’s label would induce

infringement of those claims. Cf. HZNP, 940 F.3d at 702 (acknowledging that

Actavis’s label recommended the application of diclofenac). Corcept’s musings

that a patentee could never “meet the district court’s standard” are thus ill-founded.

      The problem for Corcept is that, because mifepristone has been used to treat

Cushing’s for decades, Corcept could not get such a broad claim. Instead, it had to

settle for narrow claims that require not only administering mifepristone but also

doing so together with a strong CYP3A inhibitor, in a specific order and at a

specific dose. To show induced infringement of those claims, Corcept would

indeed have to show that the label instructs users to prescribe the drugs together

“in the first place.” That is the lesson of HZNP, see 940 F.3d at 702, and that is the

threshold showing Corcept failed to make here. Appx39–41.



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             3.     Corcept itself told the Patent Office and this Court that the
                    2012 Korlym label—which tracks Teva’s label in key
                    respects—teaches physicians “to avoid use of mifepristone
                    with strong CYP3A inhibitors.”
      Dr. Snyder’s testimony that the label discourages co-administration provides

ample basis for the district court’s finding that the label does not induce

infringement. But the district court did not even have to take Dr. Snyder’s word for

it. During prosecution of these patents, Corcept repeatedly told the PTO that the

label language in question warns against co-administration of mifepristone and

strong CYP3A inhibitors. As the district court observed, this “history reinforces the

[] conclusion that Teva’s label … does not encourage” infringement. Appx43 n.8.

      Specifically, the PTO issued several obviousness rejections based on, among

other references, the 2012 Korlym label (Appx4212–4234). That label describes

essentially the same steps described in the ’214 and ’800 patent, with one

exception: the 2012 label instructed that, if mifepristone and a strong CYP3A

inhibitor were co-administered, the dose of mifepristone should be limited to 300

mg (rather than 600 or 900 mg). See Appx4212; Appx4217; Appx4220–4221.

      In response to those rejections, Corcept contended that the 2012 label taught

skilled artisans “to avoid use of mifepristone with [strong] CYP3A inhibitors.

Appx2272. Indeed, Corcept went so far as to say that the label “contraindicated”

combining mifepristone and strong CYP3A inhibitors. Appx2579. To support these

arguments, inventor Dr. Belanoff submitted a declaration characterizing the 2012
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Korlym label’s cautionary language as a “forceful” warning against co-

administration. Appx2246–2249; see Appx15. He also framed the label’s warnings

against co-administration as operating in an “if/then,” manner, stating “that

mifepristone should be limited to 300 mg per day if administered with a strong

CYP3A inhibitor.” Appx2247; see also Appx3710 (Corcept arguing during

prosecution of the ’800 patent that the 2012 label “includes the clear statement

that, if it is necessary to combine mifepristone with ketoconazole or other strong

CYP3A inhibitor[s], ‘the dose should be limited to 300 mg per day’”).

      Essentially the same warnings that Corcept once characterized as

“contraindicate[ing]” co-administration of mifepristone and strong CYP3A

inhibitors are found in Teva’s label. The following table shows a comparison

between the relevant sections, with differences highlighted:

           2012 Korlym Label                           Teva’s Label
                             Warnings & Precautions
 “Use of Strong CYP3A Inhibitors:         “Use of Strong CYP3A Inhibitors:
 Concomitant use can increase             Concomitant use can increase
 mifepristone plasma levels               mifepristone plasma levels. Use only
 significantly. Use only when necessary when necessary and limit mifepristone
 and limit mifepristone dose to 300 mg dose to 900 mg (5.6).” Appx4040.
 (5.6).” Appx4212.
                                 Drug Interactions
 “Caution should be used when Korlym “Caution should be used when
 is used with strong CYP3A inhibitors. mifepristone is used with strong
 Limit mifepristone dose to 300 mg per CYP3A inhibitors. Limit mifepristone
 day when used with strong CYP3A          dose to 900 mg per day when used with
 inhibitors (5.6, 7.2).” Appx4212.        strong CYP3A inhibitors (7.2).”
                                          Appx4040.
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                       § 5.6 Use of Strong CYP3A Inhibitors
 “Korlym should be used with extreme “Mifepristone should be used with
 caution in patients taking ketoconazole caution in patients taking ketoconazole
 and other strong inhibitors of CYP3A      and other strong inhibitors of CYP3A
 … as these could substantially increase … as these could increase the
 the concentration of mifepristone in the concentration of mifepristone in the
 blood. The benefit of concomitant use blood. The benefit of concomitant use
 of these agents should be carefully       of these agents should be carefully
 weighed against the potential risks.      weighed against the potential risks.
 Mifepristone should be used in            Mifepristone should be used in
 combination with strong CYP3A             combination with strong CYP3A
 inhibitors only when necessary, and in inhibitors only when necessary, and in
 such cases the dose should be limited     such cases the dose should be limited
 to 300 mg per day.” Appx4217.             to 900 mg per day.” Appx4044–4045.
                              § 7.2 CYP3A Inhibitors
 “Medications that inhibit CYP3A could “Medications that inhibit CYP3A could
 increase plasma mifepristone              increase plasma mifepristone
 concentrations and dose reduction of      concentrations and dose reduction of
 Korlym may be required. Ketoconazole mifepristone may be required.
 and other strong inhibitors of CYP3A      Ketoconazole and other strong
 … may increase exposure to                inhibitors of CYP3A … may increase
 mifepristone significantly…. [E]xtreme exposure to mifepristone. Caution
 caution should be used when these         should be used when strong CYP3A
 drugs are prescribed in combination       inhibitors are prescribed in
 with Korlym. The benefit of               combination with mifepristone. The
 concomitant use of                        benefit of concomitant use
 these agents should be carefully          of these agents should be carefully
 weighed against the potential risks. The weighed against the potential risks. The
 dose of Korlym should be limited to       dose of mifepristone should be limited
 300 mg and used only when                 to 900 mg, and strong inhibitors of
 necessary.” Appx4220–4221.                CYP3A should be used only when
                                           necessary.” Appx4048.

As shown, Teva’s label, like the 2012 Korlym label: (i) cautions against

concomitant use; (ii) permits concomitant use, despite these warnings; and

(iii) provides recommendations that, in Corcept’s own words, explain how to dose


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mifepristone “if a physician decide[s] to risk such co-administration of

mifepristone with a [strong] CYP3A inhibitor.” Appx2247.

      To be sure, the labels are not identical. For example, the 2012 label’s

recommendation of “extreme caution” when co-administering was revised to

“caution,” and the allowed dose of mifepristone was increased from 300 to 900

mg. But it is not credible for Corcept to suggest that these changes transmuted the

relevant passages from active discouragement to active encouragement. The far

more reasonable conclusion is the district court’s: the “forceful[]” warning against

co-administration in the 2012 label, Appx2247, Appx1187 (169:24–170:6);

Appx1196 (178:3–9); Appx1200 (182:19–20) (Belanoff), was revised to a less

forceful warning—but still a warning nonetheless. See Appx42–43 n.8. As the

district court observed, “[t]here is a rather significant difference between a warning

and an instruction.” Id. (quoting United Therapeutics Corp. v. Sandoz, Inc., 2014

WL 4259153, at *18 (D.N.J. Aug. 29, 2014)).

      In short, by Corcept’s own admission, the 2012 label and Teva’s label both

warn against co-administration. So neither encourages infringement.

             4.    Vanda is inapposite.
      Corcept’s strained analogy to Vanda (at 52–53) misses the mark. The patent

there claimed a method of treating schizophrenia by (i) testing the patient to

determine if they were a CYP2D6 poor metabolizer and (ii) administering a dosage

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of iloperidone to the patient of 12 mg/day or less for poor metabolizers and 12–24

mg/day for non-poor metabolizers. 887 F.3d at 1121. The defendant’s label

instructed physicians to administer “12 to 24 mg/day” iloperidone and stated that

“the ‘iloperidone dose should be reduced by one-half for poor metabolizers of

CYP2D6.’” Id. at 1131. The label also stated that “[l]aboratory tests are available

to identify CYP2D6 PMs [poor metabolizers]” ––a group that made up about 3–

10% of the potential population. Id. This Court found no clear error in the district

court’s “finding that [this language] ‘recommends that practitioners perform or

have performed a genotyping assay to determine whether patients are CYP2D6

poor metabolizers’” and then administer 12 mg/day or less for poor metabolizers

and 12–24 mg/day for non-poor metabolizers. Id. at 1131–32.

      Thus, in Vanda, administering the product according to the approved

indication led directly to infringement, for both poor metabolizers and non-poor

metabolizers—which plausibly supported an inference that the defendant intended

to induce infringement. See id. at 1132. Not so here. A prescriber administering

mifepristone according to Teva’s label may never co-administer a strong CYP3A

inhibitor. Indeed, that is what the label recommends: physicians should avoid such

co-administration if they can. And, even if co-administration occurs, it is possible




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to faithfully follow the label’s instructions and not infringe.5

             5.     Corcept’s additional arguments concerning claim 6 of the
                    ’800 patent are meritless.
      Corcept contends (at 27, 33, 59–60) that claim 6 of the ’800 patent is

somehow different because “all claim 6 requires is the administration of 900 mg of

mifepristone to a patient who is already taking” a strong CYP3A inhibitor. This

argument is hard to understand. The claim, on its face, requires the drugs to be

given together. Indeed, the whole point of this patent was Corcept’s allegedly

surprising discovery that one could co-administer mifepristone and strong CYP3A

inhibitors at higher doses than previously thought safe. E.g., Appx1015 (13:18–21)

(Opening); Appx1145–1173 (127:17–155:21) (Belanoff). The analysis for claim 6

is therefore no different: Corcept had to—but did not—prove that Teva’s label

encourages administering mifepristone and strong CYP3A inhibitors together.

      C.     The district court’s finding that Teva’s product has substantial
             non-infringing uses further supports its no-inducement
             conclusion.
      This Court’s decision in HZNP, coupled with the district court’s finding that

the label does not encourage (and in fact discourages) co-administration is a



      5
         If the label in Vanda had warned users that administration of iloperidone to
poor metabolizers was dangerous and stated to avoid such administration unless
necessary, Corcept’s analogy might have more force. But the label did not say that.
It just said to administer poor metabolizers a lower dose.

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sufficient basis for affirmance. The district court’s finding of no specific intent is

further buttressed, however, by its analysis of non-infringing uses.

             1.     Virtually all uses of Teva’s product will be non-infringing.
      The district court correctly concluded, citing Warner-Lambert, that the

presence of many non-infringing uses of Teva’s product further indicates that Teva

does not intend to cause infringement. Appx44. As this Court has explained,

“where a product has substantial noninfringing uses, intent to induce infringement

cannot be inferred even when the defendant has actual knowledge that some users

of its product may be infringing the patent.” Warner-Lambert, 316 F.3d at 1365;

accord HZNP, 940 F.3d at 702; Vita-Mix, 581 F.3d at 1329.

      Indeed, to say that Teva’s product has “substantial” non-infringing uses is a

dramatic understatement. The record contains no evidence that anyone has ever

practiced the patented methods in the forty years mifepristone has been used to

treat Cushing’s syndrome. Appx25–30.

      Moreover, as discussed above, a physician can follow Teva’s label and never

infringe. If a physician administers mifepristone without co-administering a strong

CYP3A inhibitor—i.e., just uses the drug for its FDA-approved indication—no

infringement. If a physician administers a strong CYP3A inhibitor to a patient

taking 300 or 600 mg mifepristone and follows the label’s instructions—no

infringement. Appx1289–1290 (271:19–272:17) (Carroll). And if a physician

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administers mifepristone to a patient already taking a strong CYP3A inhibitor and

declines to titrate past 600 mg—no infringement. Appx1286 (268:5–12) (Carroll).6

             2.     Corcept’s contention that non-infringing uses are irrelevant
                    to inducement is foreclosed by this Court’s precedent.
      Corcept says (at 26–27, 49–50, 59) that “[n]on-infringing alternatives are

legally irrelevant to induced infringement.” This Court says otherwise. See, e.g.,

HZNP, 940 F.3d at 702 (finding no inducement because generic product had

substantial non-infringing uses, meaning “intent to induce infringement cannot be

inferred even [if the generic had] actual knowledge that some users of its product

may be infringing”) (quoting Warner-Lambert, 316 F.3d at 1365). Vanda—the

case on which Corcept relies (e.g., at 59)—merely notes that the presence of non-

infringing uses is not dispositive. That is, one can be liable for inducement even if

the product has substantial non-infringing uses. Vanda, 887 F.3d at 1133. But it

does not follow that non-infringing uses are irrelevant. They are decidedly not.

      The principle that the presence of substantial non-infringing uses can

undercut an inference of intent to induce rests on sound common sense. See

Warner-Lambert, 316 F.3d at 1365. And it applies with particular force here. Teva


      6
        Corcept’s contention (at 62) that “the district court’s non-infringement
finding for claim 6 turned entirely on its conclusion that non-infringing doses
existed” is incorrect. The district court explained at length why Teva’s label does
not encourage co-administration. Appx38–44. That analysis applied to all asserted
claims, because each requires co-administration. See supra Section II.B.5.
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wishes to market its product with a label materially identical to the 2019 Korlym

label. Yet there is no evidence that the 2019 label has led to a single act of

infringement in four years. It is hardly plausible that Teva intends for its label to do

something the identical Korlym label never done.

                                   CONCLUSION
      This Court should affirm.



April 22, 2024

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                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

          Case Number: 24-1346

  Short Case Caption: Corcept Therapeutics, Inc. v. Teva Pharmaceuticals USA, Inc.

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